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                                                                  Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                     PEORIA DIVISION

 Ashoor Rasho, et al.,                    )
                                          )
              Plaintiffs,                 )   No. 1:07-CV-1298-MMM-JEH
                                          )
       v.                                 )   The Honorable
                                          )   Michael M. Mihm,
 Director John R. Baldwin, et al.,        )   Judge presiding
                                          )
              Defendants.                 )

       Plaintiffs’ Status Report on the Inquiry Into Use of Force
                 Against Members of the Plaintiff Class
                      and Motion to Set a Schedule

      Plaintiffs report to the Court on the inquiry into the use of force

findings and request that the Court set a schedule for a period of discovery

for the purpose of furthering the formal dispute resolution process required

by the Settlement Agreement.

                                     Introduction

      1.     The Monitor has sounded an alarm about the problem of

violence against mentally ill prisoners that cannot be ignored. During the

December 13th status conference, the Court expressed great concern about

these findings in the Monitor’s Mid-Year Report and directed the parties to

confer to see if they could cooperate and find a process to address these

serious issues.

      2.     The inquiry into this longstanding problem of excessive force at

Pontiac, and elsewhere, must lead to systemic solutions. A structured
process, including some formal discovery, is necessary to comprehensively

address these difficult issues. The required process under the Settlement

Agreement’s Section XXIX provides for a comprehensive and cooperative

process that has not yet been fully engaged in by the parties. That process

needs to be re-ignited with rigorous effort so that an agreed-upon plan can be

developed to reduce violence towards prisoners with mental illness.

                   Background: Chronicles of Violence

      3.     The excessive use of force against prisoners with mental illness

has been repeatedly raised in this case, going back at least to the Cohen

Report. The Settlement Agreement attempts to address these issues by

requiring certain restrictions on use of force, including that “[f]orce shall be

employed only as a last resort or when other means are unavailable or

inadequate, and only to the degree reasonably necessary to achieve a

permitted purpose.” See Settlement Agreement, Section XXIV (incorporating

20 Ill. Admin. Code 501.30).

      4.     Throughout Dr. Stewart’s tenure, he has voiced serious concerns

to Defendants about violence at Pontiac and elsewhere:

                 a. Questioning high rates of unplanned use of force at

Pontiac and corporal punishment at Menard, the Monitor wrote that the

“sheer number and the uniformity of complaints, however, raise serious

questions about the overall use of force within IDOC.” First Annual Report,

ECF. No. 1373 at 93, 98-99. Id. at 100.



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                 b. “The Monitor received numerous credible reports from

mentally ill offenders at Pontiac that custody staff were physically abusing

them. The reports were all similar in nature in that these episodes would

occur in the evenings or at night when clinical staff was not present. They

were occurring primarily in North House and South Mental. The Monitor

takes these reports very seriously and will personally spend time at Pontiac

during off hours during the next monitoring period.” 2017 Midyear Report,

ECF. No. 1646 at 101.

                 c. “[T]he Monitor must take into account the equally serious,

ongoing reports of physical abuse carried out by the custody staff on mentally

ill offenders at Pontiac. The Monitor has personally interviewed numerous

mentally ill offenders at Pontiac who give very credible reports of abuse being

carried out by the custody staff especially on the mental health unit and on

the North House … The Monitor has reported these incidents to IDOC

leadership for at least the past 18 months to no avail ...” Second Annual

Report, ECF. No. 2122 at 101.

                 d. In July 2018, the Monitor provided the IDOC with a list of

individuals who had reported abuse to him at Pontiac, as well as provided a

list of Class Member court filings detailing physical violence. Those lists,

together, provide the names of 42 Class Members who have reported

excessive force by security staff.




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                  e. In November 2018, the Monitor again set forth serious

concerns about the informal system of use of force at Pontiac Correctional

Center. See 2018 Midyear Report, ECF. No. 2493 at 92-93 (Nov. 30, 2018). He

further stated that, despite attempting to address these issues for the last

two years, the Department has failed to take steps to curb the abuses. Id. at

93.

       5.     Reports of violence against prisoners with mental illness have

likewise filled this Court’s docket. In the last six months alone, there have

been more than 50 filings by Class Members about excessive force against

prisoners with a mental illness.1



       1Many of the descriptions by prisoners in their court filings have been
extremely disturbing. A few examples are set forth below.

       Mr. Carl Furrell (ECF No. 2094) described how he and many others in his
gallery were pepper sprayed, taken outside to the yard, and chained to a fence for
two hours in below freezing temperatures without jackets, hats, or gloves. Mr.
Furrell attached affidavits from several other prisoners describing that evening’s
events.

       Mr. De La Garza has filed a series of pleadings describing a pattern of
retaliation (Docs. 2363, 2399, and 2436), including a threat by Major Forbes to Mr.
De La Graza (regarding the earlier motion he had filed in this case), “We can handle
your motion but you won’t be able to handle the ass woopen we gonna give you” (Doc.
2399). In another filing, he describes a series of assaults he suffered at the hands of
correctional officers, including physical assaults on July 27, 2018 and August 10,
2018, the latter of which ended with Mr. De La Graza on crisis watch for four weeks.

       Mr. Steven Lisle, has filed multiple complaints with this Court of brutality in
Pontiac’s North House. On March 3, 2017, the Court directed counsel to investigate
his complaint of excessive force and sexual assault in retaliation for filings in this
case (ECF No. 1233). The video of the incident, reviewed by counsel, depicted the
Tactical Team approach Mr. Lisle, who was calm and in the yard cage, restrain
him, and force him to walk backwards and bent down at the waist with a
plastic shield pressed against his head, all the way from the yard to the
shower area. There is then a gap in the video, after which Mr. Lisle is seen
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       6.      While the vast majority of those reports from Class Members to

the Court have come from Pontiac, the issue is not limited to Pontiac. One

example is a security video viewed by counsel showing the tactical team at

Logan repeatedly spraying mace directly into the face of a woman who was in

a mental health crisis, for no purpose other than to expedite their transport

of her to a crisis cell.

       7.      Most disturbing of all is the death of a man with schizophrenia,

who died after being severely beaten by correctional staff on May 17, 2018 at

Western Correctional Center.2 The injuries that led to his death included 15

rib fractures, multiple hemorrhages, and severe colon damage.

                 A Compressive Review and Formal Dispute
                      Resolution Process Is Needed

       8.      The use of excessive force is a complex and pervasive problem

that will only be resolved if the parties commit to a comprehensive and

formal structure. That structure is provided by the Settlement’s dispute

resolution process, which is mandatory.




being removed from the shower, with skin showing on his legs and back. While there
is no clear picture of Mr. Lisle at this point in the video, Mr. Lisle described that his
rear end and part of his genitals were exposed to the entire gallery. He reported that
during the “gap” in the video, guards assaulted him in the shower.

       2  Shannon Heffernan, Inmate Dies After Altercation with Prison Staff, Death
Ruled a Homicide, WBEZ News, November 15, 2018, available at
https://www.wbez.org/shows/wbez-news/inmate-dies-after-altercation-with-prison-
staff-death-ruled-a-homicide/d04e9490-bc40-43f0-a762-ed32730c1057; ABC News,
Family of inmate Larry Earvin, who died in Illinois prison, demands answers,
November 28, 2018, available at https://abc7chicago.com/family-of-inmate-who-died-
in-illinois-prison-demands-answers/4783577/
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       9.     On July 2, 2018, Plaintiffs’ counsel sent Defendants a letter

initiating the dispute resolution process of Section XXIX. Counsel’s letter

included use of force against prisoners with mental illness, along with other

violations of the Settlement Agreement.

       10.    Section XIX(b) of the Settlement Agreement requires that

“Defendants’ response shall contain a description of the steps they took to

investigate the issues addressed in [plaintiffs’] notice, [and] the results of the

investigation ...” Defendants answered by reference to their Quarterly Report,

which responded to the Monitor’s concerns by stating that they had opened

investigations into each of the individual incidents reported to them,

including those disclosed by the Monitor on July 18.

       11.    On December 14, 2018, Plaintiffs’ counsel requested working out

a methodology to disclose Class Members who report violence confidentially

and asked to review the last two years of internal investigations into violence

at Pontiac.

       12.    Defendants rejected that request, stating instead that they

would continue to respond to specific requests about incidents identified by

Plaintiffs’ counsel and would produce the final investigative reports from

those incidents. To that end, Plaintiffs have now requested the internal

investigations and reports arising from the 42 names previously provided by

the Monitor in July 2018. However, reviewing individual incidents of violence

in isolation is not sufficient.



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      13.    In order to facilitate meaningful review and a resolution process,

Plaintiffs are requesting a brief period of discovery to allow for a more

systemic review of use of incidents, not predicated exclusively on Class

Member’s self-reports of violence. Plaintiffs also request that the Court set a

modified schedule for the dispute resolution process required by Section XXIX

to facilitate more meaningful process toward resolution.

      The Parties’ Recent Meet and Confer with the Monitor Did Not
      Resolve the Issues

      14.    As directed by the Court, on December 17, 2018, the parties held

a joint phone conference with the Monitor regarding production of

information received by the Monitor about physical abuse at Pontiac

Correctional Center.

      15.    During the call, the Monitor reported that in July 2018, he had

provided the IDOC with a list of individuals who had reported abuse to him

at Pontiac, along with a list of court filings by Class Members who had

described physical abuse. Those lists, together, provide the names of 42 Class

Members who have reported being subjected to violence by security staff.

The Monitor had since requested the outcome of IDOC’s investigations of

those incidents. The IDOC, however, refused to provide the results to the

Monitor.

      16.    During the December 17th meet and confer, the Monitor again

raised concerns that the IDOC has not taken steps to address the systemic

issues at Pontiac that are resulting in the use of excessive force. The Monitor

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again asked Defendants what had been done to investigate the individual

reports of violence and, more importantly, to address the systemic issues

which he stated should be the focus. Defendants provided no response to the

Monitor’s inquiry.

      17.    Rather than report on the steps they had taken to investigate

these allegations of abuse, Defendants focused on their demand for the

Monitor’s handwritten notes on his interviews with members of Class

Members and staff. The Monitor objected to this request, explaining that

doing so would impede his ability to effectively monitor this issue, as he relies

on being able to have confidential interviews. Given the reports of retaliation

from Class Members, he was concerned about the chilling effect it would have

on his ability to obtain information, if Class Members knew that whatever

they said would be turned over to prison officials.

      18.    IDOC rejected all suggestions of compromise by Plaintiffs’

counsel that could have allowed IDOC to fulfill its stated goal of investigating

brutality. For example, the information could be provided directly to Internal

Affairs for investigation without the involvement of counsel for either side, or

the Monitor could disclose the identifying information to IDOC, as he did last

July, so that they could obtain the allegations from Class Members directly.

      19.    IDOC is demanding that the Monitor turn over his notes, in

their original form, from his interviews of Class Members and staff in an




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effort to discredit the Monitor. Defense counsel has expressly stated that he

seeks to undercut the Monitor’s findings and have him removed as Monitor.

      20.    The Settlement Agreement, however, specifically provides for

the ability of parties to speak privately with the Monitor. Section XXVII(f)(v)

of the Settlement Agreement provides: “The Monitor shall . . . hav[e] the

authority to request private conversations with any party hereto and their

counsel.” The purpose of this provision is to facilitate effective monitoring.

The monitor’s job is not one of litigation; he must be able to have both

prisoners and staff speak to him confidentiality without fear of retaliation.

      Wherefore Plaintiffs respectfully request that this Court enter an

Order: (1) allowing the Monitor to provide IDOC with information regarding

reports of excessive force while also maintaining the confidentiality of his

work product and communications of Class Members, and (2) setting a

schedule for the parties to engage in discovery on the issue of the use of force;

and (3) setting a schedule for the dispute resolution process.




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                                         RESPECTFULLY SUBMITTED,



                                   By:    s/Alan Mills
                                         One of the attorneys for Plaintiffs

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                           CERTIFICATE OF SERVICE
      I, Alan Mills, an attorney, hereby certify that on December 20, 2018, I

electronically filed the foregoing with the Clerk of Court using the CM/ECF

system, which will send notification of such filing to all counsel of record.



                                         /s/ Alan Mills
                                         Alan Mills




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